     Case
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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                         )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10            v.                                        )          2:10-CR-287-KJD (LRL)
                                                        )
11    JASON KELLOW,                                     )
                                                        )
12                          Defendant.                  )

13                                       ORDER OF FORFEITURE

14            On August 2, 2010, defendant JASON KELLOW pled guilty to a One-Count Criminal

15    Indictment charging him in Count One with Conspiracy to Commit Bank Fraud in violation of Title

16    18, United States Code, Sections 1344 and 1349 and agreed to the forfeiture of property set forth in

17    the Forfeiture Allegations in the Criminal Indictment.

18            This Court finds that JASON KELLOW shall pay a criminal forfeiture money judgment of

19    $731,374.07 in United States Currency to the United States of America, pursuant to Fed. R. Crim. P.

20    32.2(b)(1) and (2), Title 18, United States Code, Section 982(a)(2)(A); Title 21, United States Code,

21    Section 853(p); and Title18, United States Code, Section 981(a)(1)(C) and Title 28, United States

22    Code, Section 2461(c).

23    ...

24    ...

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     Case
      Case2:10-cr-00287-GMN-VCF   Document 36
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 1           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United
 2    States recover from JAMES KELLOW a criminal forfeiture money judgment in the amount of
 3    $731,374.07 in United States Currency.
                             9               August , 2010 2009.
 4           DATED this ______ day of __________________,
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                                             UNITED STATES DISTRICT JUDGE
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     Case
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 1                                          PROOF OF SERVICE
 2            I, Heidi L. Skillin, certify that the following individuals were served with copies of the Final
 3    Order of Forfeiture on August 3, 2010 by the below identified method of service:
 4            E-mail/ECF
 5            Luis J. Rojas
              Stein & Rojas
 6            520 S. Fourth St
              Las Vegas, NV 89101
 7            Email: luisjrojas@tjr.lvcoxmail.com
              Counsel for Lance Kellow
 8
              William B. Terry
 9            William B. Terry, Chartered
              530 South Seventh Street
10            Las Vegas, NV 89101
              Email: Info@WilliamTerryLaw.com
11            Counsel for Jason Kellow
12            Richard F. Boulware
              Federal Public Defender
13            411 E. Bonneville
              Las Vegas, NV 89101
14            Email: Richard_Boulware@FD.org
              Counsel for Vinson Kellow
15
                                                     /s/HeidiLSkillin
16                                                  HEIDI L. SKILLIN
                                                    Forfeiture Support Associate Clerk
17

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